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11
12                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                 EASTERN DIVISION
14
     LEONOR M. GARCIA,                        ) No. 5:23-cv-02297-RAO
15                                            )
                                              )
16                                            ) JUDGMENT
           Plaintiff,                         )
17                                            )
               v.                             )
18   MARTIN O’MALLEY,                         )
                                              )
19   Commissioner of Social Security,         )
                                              )
20                                            )
           Defendant.                         )
21                                            )
22         Having approved the parties’ Stipulation to Remand Pursuant to Sentence Four
23   of 42 U.S.C. § 405(g) and to Entry of Judgment, THE COURT ADJUDGES AND
24   DECREES that judgment is entered for Plaintiff.
25
     DATED: June 7, 2024                           /s/
26                                        HON. ROZELLA A. OLIVER
27                                        UNITED STATES MAGISTRATE JUDGE
28




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